      Case 22-04023-elm        Doc 29       Filed 12/06/22 Entered 12/06/22 11:17:24              Desc Clerks
                                           Entry of Default Page 1 of 1
BTXN 154 (rev. 11/03)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                    §
Yolanda Mercedes Benitez                                  §
                                                          §    Case No.: 21−40734−elm7
                                          Debtor(s)       §    Chapter No.: 7
Behrooz P. Vida                                           §
                                          Plaintiff(s)    §    Adversary No.:   22−04023−elm
     vs.                                                  §
T.W. Doers Investment Firm, Inc. et al.                   §
                                          Defendant(s)    §


                                    CLERK'S ENTRY OF DEFAULT
     The Clerk for the United States Bankruptcy Court for the Northern District of Texas, having reviewed the
adversary docket in the above−styled and numbered matter, and having received the Affidavit of counsel for the
Plaintiff in this cause, and having found that no answer, motion, pleading, response, or appearance has been entered
by or on behalf of Defendant T.W. Doers Investment Firm, Inc., hereby notes and dockets a Clerk's Entry of Default
in the above−captioned adversary proceeding.



DATED: 12/6/22                        FOR THE COURT:
                                      Robert P. Colwell, Clerk of Court

                                      by: /s/Karyn Rueter, Deputy Clerk
